                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN



KEITH W COFFEY,
                       Plaintiff,

                v.                                           Case No. 21-cv-0075-bhl

 RAUSCH STURM ISRAEL ENERSON & HORNIK LLP,

                       Defendant.


         NOTICE OF RULE 16(b) TELEPHONE SCHEDULING CONFERENCE


       The Court will conduct a telephone scheduling conference pursuant to Fed. R. Civ. P.
16(b) and Civil L.R. 16(a), on May 6, 2021 at 10:30 a.m. To appear by telephone, you must call
the Court conference line at 1-866-434-5269, and enter access code 1737450# before the
scheduled hearing time. Participants will be placed on hold until the case is called.

       The court will expect counsel familiar with the case to appear and be ready to discuss the
matters identified in Fed. R. Civ. P. 16(c)(2) and Civil L.R. 16(a)(1). Counsel should also be
prepared to discuss a discovery plan, which the court expects the parties to have discussed and
filed timely under Fed. R. Civ. P. 26(f). Following the conference, the court will enter a
scheduling order setting deadlines for, among other things, the joinder of other parties;
amendments to the pleadings; filing dispositive motions; completing fact and expert discovery;
and disclosing expert witnesses. The court may also set dates for a Final Pretrial Conference
and/or Trial.


                                                            GINA M. COLLETTI
                                                            Clerk of Court
       Dated: March 22, 2021
                                                            s/ Melissa P.
                                                            Deputy Clerk




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